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   7                       UNITED STATES DISTRICT COURT
   8                      CENTRAL DISTRICT OF CALIFORNIA
   9    BRIAN WHITAKER,                                 Case: 2:19-CV-10400-DMG-AS
                Plaintiff,
 10       v.
        ABRAHAM MORADZADEH, in                          Plaintiff’s Notice of Voluntary
        individual and representative                   Dismissal With Prejudice
 11     capacity as trustee of the
        Moradzadeh Family Trust, dated
 12     June 26, 1998; MADLEN                           Fed. R. Civ. P. 41(a)(1)(A)(i)
        MORADZADEH, in individual and
        representative capacity as trustee of
 13     the Moradzadeh Family Trust, dated
        June 26, 1998; TARTINES ET
 14     MACARONS, LLC, a California
        Limited Liability Company; and
        Does 1-10,
 15             Defendants.
 16          PLEASE TAKE NOTICE that Plaintiff Brian Whitaker, hereby
 17    voluntarily dismisses the above captioned action with prejudice pursuant to
 18    Federal Rule of Civil Procedure 41(a)(1)(A)(i).
 19          Defendants Abraham Moradzadeh, in individual and representative
 20    capacity as trustee of the Moradzadeh Family Trust, dated June 26, 1998;
 21    Madlen Moradzadeh, in individual and representative capacity as trustee of
 22    the Moradzadeh Family Trust, dated June 26, 1998 and Tartines Et
 23    Macarons, LLC, a California Limited Liability Company have neither
 24    answered Plaintiff’s Complaint, nor filed a motion for summary judgment.
 25    Accordingly, this matter may be dismissed without an Order of the Court.
 26    Dated: March 25, 2020                CENTER FOR DISABILITY ACCESS
 27                                         By: /s/ Amanda Lockhart Seabock
 28                                               Amanda Lockhart Seabock
                                                  Attorneys for Plaintiff

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                   Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                                Federal Rule of Civil Procedure 41(a)(1)(A)(i)
